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 9
                               UNITED STATES DISTRICT COURT
10
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
11

12
     UNITED STATES OF AMERICA,          )                Case No. CR. S-08-0427
13                                      )                MCE
                                        )
14                  Plaintiff,          )
                                        )                 STIPULATION TO CONTINUE
15        vs.                           )                SENTENCING; ORDER THEREON
                                        )
16   SHUSHANIK MARTIROSYAN,             )
                                        )
17                                      )
                    Defendant.          )
18   __________________________________ )

19

20          For the reasons set forth in the parties’ stipulation, IT IS

21   ORDERED that the sentencing of defendant SHUSHANIK MARTIROSYAN, is

22   continued from December 8, 2011 9:00 a.m. to May 10, 2012 at 9:00

23   a.m.

24
      Dated: December 8, 2011
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26                                           _____________________________
                                             MORRISON C. ENGLAND, JR.
27                                           UNITED STATES DISTRICT JUDGE
28

                                                1
                                         PROPOSED ORDER
